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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

THOMAS J. MURPHY, III and : CIVIL ACTIC)N
JEFFREY LAM :
Plaintiffs : NO.
v. '

UNITED sTATEs oF AMERICA
and :

U.s. DEPARTMENT vETERANs AFFAIRs ; JURY TRIAL DEMANDED
and '

LAWRENCE U. BUXBAUM
Defendants

 

COMPLAINT IN CIVIL ACTION

l. Plaintiff, Thomas J. Murphy, III, is an adult individual and citizen of the
Commonwealth of Pennsylvania residing at 2626 E. Albert Street, Philadelphia, PA l9l25.

2. Plaintiff Jeffrey Lam is an adult individual and citizen of the Commonwealth of
Pennsylvania residing at 2626 E. Albert Street, Philadelphia, PA l9l25.

3. Defendant, Lawrence U. Buxbaum, is an adult individual and citizen of the State of
New Jersey residing at 79 Bryn Mawr Avenue, Lansdowne, PA 19050.

4. Defendant United States of Amerioa (hereinafter referred to as the “United States”)
is the party that maintains the U.S. Department of Veterans Affairs and its divisions and
subdivisions

5. The United States Department of Veterans Affairs is an entity maintaining an
address at 3900 Woodland Avenue, Philadelphia, PA 19104 and did operate a 2011 Ford Focus by
and through its employees and/or agents including defendant Lavvrence U. Buxbaum.

6. Defendant United States of America (hereinafter referred to as the “United States”)

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is the party that maintains the Department of Veterans Affairs and its divisions and subdivisions

7. Defendant United States of America, Department of Veterans Affairs (hereinafter
referred to as “USA-VA” acted by and through their agents and employees, actual and/or apparent,
Who at all relevant times, were acting within the course and scope of their employment and/or
agency.

JURISDICTION AND VENUE

8. Subj ect matter jurisdiction is conferred upon this Court pursuant to 28 U.S.C.A. §
1331 as this is an action which arises under the laws of the United States.

9. Venue is proper in this Court pursuant to 28 U.S.C.A. § 1402 as the plaintiffs reside
in this district and a substantial part of the events or omissions giving rise to the claim occurred
within this district and the defendants are subject to the court’s personal jurisdiction within this
district

10. The above captioned matter is being brought against the United States of America
pursuant to 28 U.S.C. § 2671, et seq., Federal Tort Claims Act, and 28 U.S.C. §l346(b)(1) for
money damages, compensation for personal injuries that were caused by the negligence and
wrongful acts and omissions of the employees of the United States Government while acting
within the course and scope of their offices and employment, under circumstances where the
United States, if a private person, would be liable to the Plaintiffs in accordance with the laws of
the State of Pennsylvania.

11. Over six months have passed since the United States of America acknowledged

receipt of the Standard Form 95.

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12. At the time of this filing, the United States of America, Department of Veterans
Affairs have denied the claim and/or have taken no action since the presentation of the claim and
all conditions precedent to the Federal Tort Claims Act have been properly met.

COUNT I
PLAINTIFF JEFFREY LAM v. DEFENDANTS

13. On or about October 27, 2015, Plaintiff, Thomas J. Murphy was the operator of a
vehicle traveling southbound on Belgrade Street in Philadelphia and was stopped at a stop sign.
As he was pulling out from the stop sign after stopping, Defendant Lawrence U. Buxbaum, who
was traveling west on Westmoreland Street, failed to a stop, striking the front end of the Murphy
vehicle.

14. On or about October 27, 2015, Plaintiff, Jeffrey Lam was a passenger seat-belted in
the front passenger seat of the vehicle being driven by Plaintiff Thomas Murphy when it was
struck on the front end by Defendant Lawrence U. Buxbaum.

15. As a direct and proximate result of Defendant’s carelessness and negligence,
Plaintiff, Jeffrey Lam incurred permanent and serious injuries to the lower back and nerve injuries
and/or aggravation of conditions

16. As a direct and proximate result of Defendant’s carelessness and negligence
Plaintiff Jeffrey Lam has suffered great pain, suffering, and embarrassment

17 . As a further direct and proximate result of Defendant’s carelessness and
negligence, Plaintiff Jeffrey Lam has been required and may continue to require hospital, medical,
surgical, nursing care and treatment for the injuries described above, all to his great detriment and

loss, financial and otherwise

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18. As a further direct and proximate result of Defendants’ negligence and
carelessness, Plaintiff Jeffrey Lam has been in the past and will in the future be unable to attend to
or perform his normal duties

WHEREFORE, Plaintiff Jeffrey Lam requests judgment in his favor in an amount in
excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest, delay damages, costs, and
such other remedy as seen fit by this court.

COUNT II
PLAINTIFF THOMAS MURPHY v. DEFENDANTS

19. Plaintiff incorporates by reference paragraphs 1 through 18 as if same were set
forth at length herein.

20. As a direct and proximate result of Defendants’ carelessness and negligence,
Plaintiff, Thomas Murphy incurred permanent and serious injuries including but not limited to
injuries of the cervical spine, arm, shoulder and headaches

21, As a direct and proximate result of Defendant’s carelessness and negligence
Plaintiff Thornas Murphy has suffered great pain, suffering, and embarrassment

22. As a further direct and proximate result of Defendant’s carelessness and
negligence, Plaintiff Thomas Murphy has been required and may continue to require hospital,
medical, surgical, nursing care and treatment for the injuries described above, all to his great
detriment and loss, financial and otherwise

23. As a further direct and proximate result of Defendants’ negligence and
carelessness, Plaintiff Jeffrey Lam has been in the past and will in the future be unable to attend to

or perform his normal duties

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WHEREFORE, Plaintiff Thomas Murphy requests judgment in his favor in an amount in
excess of Seventy-Five Thousand Dollars ($75,000.00), plus interest, delay damages, costs, and

such other remedy as seen fit by this court.

  

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Co nsel Plain iffs

 

1525 Locust Street, 8th Floor
Philadelphia, PA 19102

Date: October 23, 2017

